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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                       CRIMINAL 12-0154CCC
1) JOSE RIVERA-DIDES
2) JORGE OMAR VICENTY-MELENDEZ
3) REY GONZALEZ
4) EDWIN MARIN-MARTINEZ
5) ALEJANDRO ROSARIO-RIVERA
6) GERMAN MORALES-COLON
7) MIGUEL PEREZ-RIVERA
8) JOSUE ROSARIO-RESTO
9) JONATHAN RIVERA-MEDINA
10) LUIS E. ACEVEDO-OQUENDO
11) LUIS J. ACEVEDO-OQUENDO
12) JUAN ALVARADO-HERNANDEZ
13) GAMALIER RODRIGUEZ-TAÑON
14) RAFAEL MARIN
15) CARLOS A. DE JESUS-CUEVAS
16) WILLIAM RIVERA-RODRIGUEZ
17) JONATHAN GONZALEZ-COLON
18) WILFREDO RODRIGUEZ-RIVERA
19) RAUL MARIN-MARTINEZ
20) JUAN DAVID MARIN-MARTINEZ
21) GIOVANNI GONZALEZ-TORRES
22) JOSE BAEZ-LEON
23) AVIDAEL HERNANDEZ-AGOSTO
24) FERNANDO SUAREZ-LAFONTAINE
25) JONATHAN GONZALEZ-MEDINA
26) JOAN SERRANO-RODRIGUEZ
27) FELIPE MAS-QUILES
28) JOSE MEDINA-GRAU
29) CARLOS FELICIANO-GONZALEZ
30) EMANUEL PAGAN-COLLAZO
31) MICHELLE RODRIGUEZ-RIVERA
32) ALEX DE JESUS-CAQUIAS
33) MARIO RIVERA-DIDES
34) JORGE L. PAGAN-COLLAZO
35) JORGE L. NEGRON-CASTELLANO
36) CALIXTO RIVERA-MONTERO
37) SIGFREDO DE JESUS-RODRIGUEZ
38) JOSE GIOVANNI RIVERA
39) JAVIER DE JESUS-GONZALEZ
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 40) GABRIEL SOTO
 41) ALEX ARROYO-RAMOS
 Defendants



                                            ORDER

       Having considered the Report and Recommendation filed on January 10, 2014

(docket entry 1166) on a Rule 11 proceeding of defendant Jonathan Rivera-Medina (9)

before U.S. Magistrate Judge Bruce J. McGiverin on January 8, 2014, to which no objection

has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is

accepted. The Court FINDS that his plea was voluntary and intelligently entered with

awareness of his rights and the consequences of pleading guilty and contains all elements

of the offense charged in the indictment.

       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report since January 8, 2014. The sentencing hearing is set for April 9,

2014 at 4:15 PM.

       The U.S. Probation Officer is reminded that, should any objections be raised by

defendant to the PreSentence Report, the Addendum to said PreSentence Report must

specifically identify any unresolved objections, the grounds for the objections, and the

U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The

party that raised the unresolved objections shall, within twenty-four (24) hours after the

Addendum is disclosed, state in writing whether it will insist that the unresolved objections
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be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal

of the unresolved objections.

      SO ORDERED.

      At San Juan, Puerto Rico, on February 5, 2014.



                                        S/CARMEN CONSUELO CEREZO
                                        United States District Judge
